
PER CURIAM.
S.W.W., a juvenile, appeals an adjudication of delinquency finding him guilty of willfully interrupting or disturbing a school in violation of section 877.13, Fla. Stat. (2001). We reverse the adjudication. The state did not establish that the juvenile “deliberately acted to create a disturbance.” S.H.B. v. State, 355 So.2d 1176, 1179 (Fla.1977). The record does not support a finding that the juvenile acted “with the intention that his behavior impede the successful functioning” of the school or that he acted “with reckless disregard of the effect of his behavior.” Id.
Reversed and remanded with instructions to enter a judgment of acquittal for violation of section 877.13.
